Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 1 of 9 PageID 912




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

RACHELLE BEAUBRUN,                            Civil Action File
KRISTEN GODUTO,
KARA GUGGINO,                                 Case No. 5:19-cv-00615-TJC-PRL
SARA HOEHN,
APRIL JOHNSON,
TERRY NAGY-PHILIPS,
ANN URSINY,
KAREN WATSON,
CARLEANE BERMAN,
MIRANDA FLOWERS,
JUDI ALOE,
MAGGIE LEON,
LAUREN REYNOLDS,
AMANDA DIMURO, and
REBECCA MORA

Plaintiffs,

vs.

UNITED STATES OF AMERICA,

Defendant.
______________________________/

              PLAINTIFFS’ NOTICE OF FILING PROPOSED AGREED ORDERS

        Plaintiffs LAUREN REYNOLDS, AMANDA DIMURO and REBECCA MORA by and

through their undersigned counsel give Notice of Filing the Agreed Order Authorizing

Disbursement of Settlement Funds to Plaintiff, Rebecca Mora and Agreed Order

Authorizing Disbursement of Settlement Funds to Plaintiff, Amanda DiMuro. The contents

of this filing must be considered in connection with a matter pending before the Court – Plaintiffs’

Motion for Leave to Disburse Settlement Funds [D.E. #83].
Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 2 of 9 PageID 913




                                                      Respectfully submitted,
                                                   SOREN LAW GROUP, P.A.
                                                By: /s/ Max G. Soren
                                                   Max G. Soren, Esq.
                                                   Florida Bar No.: 623431
                                                   eservice@sorenlawgroup.com
                                                   4200 NW 7th Avenue
                                                   Miami, Florida 33127
                                                   Telephone: (786) 431-1333

                                                   DEMILES LAW
                                                By: /s/ James A. DeMiles
                                                   James A. DeMiles, Esq.
                                                   Florida Bar No. 15974
                                                   James@DeMilesLaw.com
                                                   3440 Hollywood Blvd., Suite 415
                                                   Hollywood, Florida 33021-6933
                                                   (954) 241-4246 (Telephone)

                                                      Counsel for Plaintiffs Amanda DiMuro,
                                                      Rebecca Mora, and Lauren Reynolds

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 28, 2021, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF electronic filing system, which will automatically send notice
of the filing to the following CM/ECF participants:
Maria Chapa Lopez
United States Attorney

Adam R. Smart
Assistant United States Attorney
USA No. 195

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Assistant United States Attorney
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Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 3 of 9 PageID 914




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Counsel for Plaintiffs Rachelle Beaubrun, Kayla Buchanan, Kristen Goduto, Kara Guggino, Sara
Hoehn, April Johnson, Terry Nagy-Philips, Ann Ursiny, Cristian Villata-Garcia, and Karen
Watson.

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Counsel for Plaintiff Maggie Leon
                                                    /s/ Max G. Soren
                                                    Max G. Soren, Esq.
Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 4 of 9 PageID 915




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

RACHELLE BEAUBRUN,                           Civil Action File
KRISTEN GODUTO,
KARA GUGGINO,                                Case No. 5:19-cv-00615-TJC-PRL
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CARLEANE BERMAN,
MIRANDA FLOWERS,
JUDI ALOE,
MAGGIE LEON,
LAUREN REYNOLDS,
AMANDA DIMURO, and
REBECCA MORA

Plaintiffs,

vs.

UNITED STATES OF AMERICA,

Defendant.

______________________________/


                  AGREED ORDER AUTHORIZING DISBURSEMENT
              OF SETTLEMENT FUNDS TO PLAINTIFF AMANDA DIMURO

         This matter was brought before the Court on Plaintiffs’ Motion For Leave to Disburse

Settlement Funds [D.E. #83]. The Court being advised of the agreement of the parties and being

otherwise advised in the premises, it is ORDERED and ADJUDGED:

      The Court has been apprised that Plaintiff Amanda DiMuro settled her claim

against Defendant in this case for $330,000.00 and the funds have been deposited in a trust account

maintained by her attorney, DeMiles Law. Twenty-five percent (25%) of the settlement funds

paid to Plaintiff Amanda DiMuro by Defendant ($82,500.00) shall remain held in DeMiles Law’s
Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 5 of 9 PageID 916




trust account until further Order of the Court; $19,400.76 may be disbursed to pay off the lien on

the settlement funds held by Dynamic Legal Funding, LLC pursuant to the Assignment Agreement

entered into on December 22, 2020; and the remainder of the settlement funds ($228,099.24) may

be disbursed to Amanda DiMuro.


                                                    _______________________________
                                                    TIMOTHY J. CORRIGAN
                                                    UNITED STATES DISTRICT JUDGE




CC:

Counsel of Record
        Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 6 of 9 PageID 917




06/25/2021
ATTN: Max Soren Esq
Soren Law Group, P.A.
4200 NW 7th Avenue
Miami, FL 33127

RE: Amanda K. DiMuro, DOA: 10/25/2016

Dear Max Soren Esq:
Per your request, the total payoff amount due from Amanda K DiMuro is $19,400.76


                 Lien # - Principal Amount                   Date Funded                  Total Due
                 Lien 1 – Principal $17,800.00               12/22/2020                   $19,400.76


These totals will fully satisfy any and all funding lien(s) up to and including the date of this letter. The amount due is not
inclusive of any additional funding(s) on, or after the date of this letter. If no additional fundings are provided, please be
advised that the amounts will change on the dates indicated above.
If a check is sent after 07/25/2021, please contact our office for an updated payoff amount, as this lien continues to
accrue.

Any payment received in amounts less than the Payment described herein or after the payment date, shall be insufficient
to relieve the above named parties of their obligations. In either circumstance, the above named parties are directed to
immediately request and updated payoff letter.

Please send the pay-off check made payable to Dynamic Legal Funding, LLC to the below-referenced address.

Please contact the undersigned should you have any questions or require additional information. It was our pleasure to
provide this service to your client. If we can be of any assistance to your clients in the future, please do not hesitate to
call us.

                                                         Thank you,

                                            Dynamic Legal Funding, LLC
Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 7 of 9 PageID 918




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

RACHELLE BEAUBRUN,                            Civil Action File
KRISTEN GODUTO,
KARA GUGGINO,                                 Case No. 5:19-cv-00615-TJC-PRL
SARA HOEHN,
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CARLEANE BERMAN,
MIRANDA FLOWERS,
JUDI ALOE,
MAGGIE LEON,
LAUREN REYNOLDS,
AMANDA DIMURO, and
REBECCA MORA

Plaintiffs,

vs.

UNITED STATES OF AMERICA,

Defendant.

______________________________/


                   AGREED ORDER AUTHORIZING DISBURSEMENT
               OF SETTLEMENT FUNDS TO PLAINTIFF REBECCA MORA

         This matter was brought before the Court on Plaintiffs’ Motion For Leave to Disburse

Settlement Funds [D.E. #83]. The Court being advised of the agreement of the parties and being

otherwise advised in the premises, it is ORDERED and ADJUDGED:

      The Court has been apprised that Plaintiff Rebecca Mora settled her claim

against Defendant in this case for $330,000.00 and the funds have been deposited in a trust account

maintained by her attorney, DeMiles Law. Twenty-five percent (25%) of the settlement funds

paid to Plaintiff Rebecca Mora by Defendant ($82,500.00) shall remain held in DeMiles Law’s
Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 8 of 9 PageID 919




trust account until further Order of the Court; $43,936.56 may be disbursed to pay off the lien on

the settlement proceeds held by Dynamic Legal Funding, LLC pursuant to the Assignment

Agreements entered into on June 7, 2021, December 30, 2020, and November 20, 2020; and the

remainder of the settlement funds ($203,563.44) may be disbursed to Rebecca Mora.


                                                    _______________________________
                                                    TIMOTHY J. CORRIGAN
                                                    UNITED STATES DISTRICT JUDGE




CC:

Counsel of Record
        Case 5:19-cv-00615-TJC-PRL Document 93 Filed 06/28/21 Page 9 of 9 PageID 920




06/25/2021
ATTN: Max Soren Esq
Soren Law Group, P.A.
4200 NW 7th Avenue
Miami, FL 33127

RE: Rebeca Mora, DOA: 02/16/2016

Dear Max Soren Esq:
Per your request, the total payoff amount due from Rebeca Mora is $43,936.56


                 Lien # - Principal Amount                    Date Funded                   Total Due
                 Lien 1 – Principal $17,800.00                11/20/2020                    $19,677.65
                 Lien 2 – Principal $11,400.00                12/30/2020                    $12,380.88
                 Lien 3 – Principal $11,775.00                06/07/2021                    $11,878.03



These totals will fully satisfy any and all funding lien(s) up to and including the date of this letter. The amount due is not
inclusive of any additional funding(s) on, or after the date of this letter. If no additional fundings are provided, please be
advised that the amounts will change on the dates indicated above.
If a check is sent after 07/25/2021, please contact our office for an updated payoff amount, as this lien continues to
accrue.

Any payment received in amounts less than the Payment described herein or after the payment date, shall be insufficient
to relieve the above named parties of their obligations. In either circumstance, the above named parties are directed to
immediately request and updated payoff letter.

Please send the pay-off check made payable to Dynamic Legal Funding, LLC to the below-referenced address.

Please contact the undersigned should you have any questions or require additional information. It was our pleasure to
provide this service to your client. If we can be of any assistance to your clients in the future, please do not hesitate to
call us.

                                                         Thank you,

                                            Dynamic Legal Funding, LLC
